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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

PACSEC3, LLC,
    Plaintiff,                              Civil Action No. 1:24-cv-04711-MLB

v.

AXWAY, INC.,                                JURY TRIAL DEMANDED
   Defendant



     UNOPPOSED MOTION FOR EXTENSION OF TIME TO ANSWER OR
                   RESPOND TO COMPLAINT

       Plaintiff, PacSec3, LLC (“PacSec3” or “Plaintiff”) files this Unopposed

Motion for Extension of Time for Defendant, Axway, Inc., (“Axway” or

“Defendant”) to Answer or Respond to Complaint and respectfully shows the

following:

       Plaintiff filed its Complaint on October 16, 2024 (Dkt. No. 1) and served

Defendant on November 1, 2024. Defendant’s response is due November 22, 2024.

Defendant has requested a 60-day extension to respond on or before January 21,

2025, and more needs time to prepare to defend the matter and/or explore early

resolution opportunities. Plaintiff does not oppose this request.

       Wherefore, Plaintiff respectfully requests that the Court grant this motion and

enter an order extending the deadline for Defendant to answer or otherwise respond

to the Complaint to January 21, 2025.
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      Respectfully submitted this 26th day of November, 2024.
                                     THE DUCOS LAW FIRM, LLC
                                     Alexander Shunnarah Trial Attorneys,
                                     of Counsel

                                     /s/ Kristina Ducos
                                     Kristina Ducos
                                     Georgia State Bar No. 440149
                                     600 Peachtree Street NE, Suite 2210
                                     Atlanta, Georgia 30308
                                     (404) 469-9574 (telephone)
                                     (470) 220-5130 (fax)

                                     &

                                     Ramey LLP

                                     /s/ William P. Ramey, III
                                     William P. Ramey, III
                                     (Pro Hac Vice Anticipated)
                                     Texas Bar No. 24027643
                                     wramey@rameyfirm.com
                                     5020 Montrose Blvd., Suite 800
                                     Houston, Texas 77006
                                     (713) 426-3923 (telephone)
                                     (832) 900-4941 (fax)
                                     Attorney for PacSec3, LLC



                     CERTIFICATE OF CONFERENCE

      Pursuant to Local Rules, counsel for Plaintiff, conferred with counsel for

defendant on November 20, 2024. Plaintiff is unopposed to the extension.

                                     /s/ Kristina Ducos
                                     Kristina Ducos
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                        CERTIFICATE OF SERVICE

      Pursuant to the Federal Rules of Civil Procedure, I hereby certify that all

counsel of record who have appeared in this case are being served on this day of

November 26, 2024, with a copy of the foregoing via CM/ECF Filing.

                                     /s/ Kristina Ducos
                                     Kristina Ducos
